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                             Attorneys for Receiver
                      8      THOMAS A. SEAMAN
                      9                                  UNITED STATES DISTRICT COURT
                     10                            SOUTHERN DISTRICT OF CALIFORNIA
                     11
                     12 BRUCE J. STANIFORTH,,                          Case No. 3:14-cv-01899 GPC (JLB)
                     13                     Plaintiff,                 JOINT STATUS REPORT RE:
                                                                       RECEIVERSHIP ACTION STYLED
                     14               v.                               SEC V. TOTAL WEALTH
                                                                       MANAGEMENT, INC., ET AL.
                     15 TOTAL WEALTH MANAGEMENT,
                        INC.; et al.,                                  Judge: Hon. Gonzalo P. Curiel
                     16
                                      Defendants.
                     17
                     18               TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
                     19 COUNSEL OF RECORD:
                     20               PLEASE TAKE NOTICE THAT, in accordance with this Court's May 24,
                     21 2017 order directing the parties to file a status report regarding the status of the
                     22 related Securities and Exchange enforcement and receivership action styled SEC v.
                     23 Total Wealth Management, Inc., et al., USDC, S.D. Cal. Case No. 15-cv-226 BAS
                     24 (DHB) (the "Receivership Case"), Thomas A. Seaman (the "Receiver") and plaintiff
                     25 Bruce J. Staniforth, hereby submit the following Joint Status Report:
                     26
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                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                  14-cv-1552 GPC (JLB)
                            1100098.01/LA
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                      1 I.            RELEVANT STATUS.
                      2               A.    Status Of Receivership Case And Litigation Stay.
                      3               The Receivership Case remains pending before the Honorable Cynthia
                      4 Bashant, of this Court, and the litigation stay imposed pursuant to Judge Bashant's
                      5 February 12, 2015 "(1) Preliminary Injunction, Appointment of a Permanent
                      6 Receiver, and Related Orders; and (2) Order Vacating Hearing on Preliminary
                      7 Injunction" (the "Appointment Order"1) (Receivership Case Dkt. No. 8), remains in
                      8 place. This Court applied the litigation stay to the of the above-entitled action on
                      9 May 12, 2015, except as to non-receivership Defendants. (Dkt. No. 57.)
                     10               B.    Receiver's Asset Recovery Efforts.
                     11               As reflected in the Receiver's recently submitted Fifth Interim Report and
                     12 Petition for Instructions (Receivership Case Dkt. No. 192), the Receiver is presently
                     13 holding approximately $3 million for the benefit and administration of the
                     14 Receivership Entities, but continues in his efforts to recover additional funds,
                     15 largely via two separate litigation matters.
                     16               The first is an action against Private Placement Capital Notes II, LLC and its
                     17 principal, Anthony Hartman (collectively, "PPCN"), seeking the return of more than
                     18 $20 million in investor funds invested in PPCN, plus interest and other fees. The
                     19 action is styled Seaman v. Private Placement Capital Notes II, LLC, et al., USDC,
                     20 SD Cal. Case No. 16-cv-0578 BEN (DHB) (the "PPCN Action"). The PPCN Action
                     21 has been stayed pending further action on the Court's recent order on a PPCN
                     22 motion to compel arbitration (see PPCN Action Docket Nos. 11, 14, 15, 18), which
                     23 order has been appealed by PPCN to the Ninth Circuit Court of Appeal. The Ninth
                     24
                     25
                     26     1
                                 As reflected in prior submissions to this Court, the litigation stay imposed by the
                     27          Appointment Order applies only to those entities placed into receivership,
                                 including Total Wealth Management, Inc. and its subsidiaries and affiliated,
                     28          including but not limited to Altus Capital Management, LLC (collectively, the
       LAW OFFICES
                                 "Receivership Entities").
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                    3:14-cv-01889-GPC (JLB)
                            1100098.01/LA                                -2-
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                      1 Circuit recently requested that the parties mediate, and the Receiver and PPCN are
                      2 in discussions at this time.
                      3               The second action being prosecuted by the Receiver is a malpractice action
                      4 styled Seaman v. Lively, et al., San Diego Superior Court Case No. 37-2016-
                      5 00003644-CU-PN-CTL (the "Malpractice Action"), in which the Receiver has
                      6 alleged that certain pre-receivership counsel caused, aided, or abetted the
                      7 Receivership Entities' fraud, in the form of failure to disclose the existence of
                      8 revenue sharing agreements and attendant conflicts of interest. The Receiver has
                      9 settled with one set of defendants in the Malpractice Action and is in settlement
                     10 discussions with the remaining defendants.
                     11               C.    The Claims Process.
                     12               In November 2016, the Receiver developed and proposed summary claims
                     13 procedures whereby investors in and creditors of the Receivership Entities could
                     14 submit claims for repayment against the Receivership Entities. (Receivership Case
                     15 Dkt. No. 124.) On February 27, 2017, the Court approved the Receiver's proposed
                     16 claims procedures, and established a claims bar date of May 8, 2017. (Receivership
                     17 Case Dkt. No. 137.) The claims bar date has lapsed and the Receiver is processing
                     18 approximately 300 claims. Once completed, the Receiver expects to file an omnibus
                     19 motion to approve his recommended treatment of claims and authorize, at a
                     20 minimum, an interim distribution of funds to claimants with allowed claims.
                     21 Plaintiff Staniforth has submitted a timely claim.
                     22 \\\
                     23 \\\
                     24 \\\
                     25 \\\
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                     27 \\\
                     28 \\\
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                 3:14-cv-01889-GPC (JLB)
                            1100098.01/LA                               -3-
                 Case 3:14-cv-01899-GPC-JLB Document 50 Filed 11/30/17 PageID.408 Page 4 of 6



                      1 II.           CONCLUSION.
                      2               For the foregoing reasons, and particularly given the continued pendency of
                      3 the Receivership Case, the Receiver's continuing asset recovery efforts, and the
                      4 pending claims process, the Receiver respectfully requests that this Court continue
                      5 its stay of the above-captioned matter pending further updates from the Receiver, at
                      6 least as to the Receivership Entities. Plaintiff Staniforth has no objection.
                      7
                      8 Dated: November 30, 2017                        ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                      9                                                 DAVID R. ZARO
                                                                        JOSHUA A. DEL CASTILLO
                     10                                                 MELISSA K. ZONNE
                     11
                                                                        By:        /s/    Joshua A. del Castillo
                     12                                                       JOSHUA A. DEL CASTILLO
                                                                              Attorneys for Receiver
                     13                                                       THOMAS A. SEAMAN
                     14
                            Dated: November 30, 2017                    CROSS PLAINTIFF LAW FIRM
                     15                                                 OLEG CROSS
                     16
                                                                        By:        /s/    Oleg Cross
                     17                                                       OLEG CROSS
                                                                              Attorneys for Plaintiff
                     18                                                       BRUCE J. STANIFORTH
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       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                   3:14-cv-01889-GPC (JLB)
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Case 3:14-cv-01899-GPC-JLB Document 50 Filed 11/30/17 PageID.409 Page 5 of 6



  1                                           PROOF OF SERVICE
  2                              Bruce J. Staniforth v. Total Wealth Management, Inc., et al.
                               USDC, Southern District of California – Case No. 14-cv-1899 (GPC) (JLB)
  3
          I am employed in the County of Los Angeles, State of California. I am over
  4 the age of 18 and not a party to the within action. My business address is 865 S.
  5 Figueroa Street, Suite 2800, Los Angeles, California 90017-2543.

  6       A true and correct copy of the foregoing document(s) described below will be
  7
    served in the manner indicated below:
        JOINT STATUS REPORT OF RE: RECEIVERSHIP ACTION STYLED
  8
                  SEC v. TOTAL WEALTH MANAGEMENT, INC., et al.,
  9
      1.        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
 10             FILING ("NEF") – the above-described document will be served by the Court
 11             via NEF. On November 30, 2017, I reviewed the CM/ECF Mailing Info For
                A Case for this case and determined that the following person(s) are on the
 12             Electronic Mail Notice List to receive NEF transmission at the email
 13             address(es) indicated below:
 14                  Vincent Brown
                      vince@vjblaw.com,vjblaw@gmail.com
 15                  Oleg Cross
 16                   oleg@cplitigation.com
                     Michael Lawrence Gallo
 17                   mgallo@sparerlaw.com,admin@sparerlaw.com
 18                  Alan W. Sparer
                      asparer@sparerlaw.com,admin@sparerlaw.com
 19                  Joshua Andrew del Castillo
                      jdelcastillo@allenmatkins.com
 20

 21
      2.        SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for
 22             each person or entity served): On                       , I served the following
 23
                person(s) and/or entity(ies) in this case by placing a true and correct copy
                thereof in a sealed envelope(s) addressed as indicated below. I am readily
 24             familiar with this firm's practice of collection and processing correspondence
 25
                for mailing. Under that practice it is deposited with the U.S. postal service on
                that same day in the ordinary course of business. I am aware that on motion
 26             for party served, service is presumed invalid if postal cancellation date or
 27
                postage meter date is more than 1 (one) day after date of deposit for mailing in
                affidavit.
 28


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Case 3:14-cv-01899-GPC-JLB Document 50 Filed 11/30/17 PageID.410 Page 6 of 6



 1        I declare that I am employed in the office of a member of the Bar of this Court
 2
   at whose direction the service was made. I declare under penalty of perjury under the
   laws of the United States of America that the foregoing is true and correct. Executed
 3 on November 30, 2017 at Los Angeles, California.
 4
 5                                               Martha Diaz
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